             Case 22-2735, Document 63, 07/19/2023, 3544164, Page1 of 9


                              CERTIFICATION OF SERVICE

I, E. Dubois Raynor. do hereby affirm and certify that on the 16th Day of July 2023, I duly served
upon counsel for the Defendants-Appellees. in Dorsey vs. Gannon et al .. Dkt. No. 22-2 735. a
complete and accurate and copies of the Plaintiff-Appellant" s Notice of Motion for an
enlargement of the time to perfect Plaintiff-Appellant" s Appeal, by serving U.S. Postal Mail with
sufficient postage affixed ( proof thereof attached), as follows:

Lauren O'Brien. Esq.
Allorneysfor Defendants-Appellees
New York City Law Department
100 Church Street
New York, New Yor 10007




                                                                       71,. ~-
                                                   r;;=:-12~ E. D ~isRaynorf..Esq.




                                                                                               I   f
                             Case 22-2735, Document 63, 07/19/2023, 3544164, Page2 of 9
                                       UNITED STA TES COURT OF APPEALS FOR THE SECOND CIRCUIT

                     Tll■raood   Manball U.S. Co ■rtlloue 48 Foley Squn, New York. NY 10007 Telepuae: 212-857-8500

                                                     MOTION INFORMATION STATEMENT

    DoeketN■mber(1):_2_2_-_2_73_5

    Motion 1,..:
                                _________
                   Notice of Motion for an Enlargment
                                                                                                CNtiJo r._ •        •i
    of Time                                                                       Classie M. Dorsey,
                                                                                                             Plaintiff-Appellant,
    Set for1h bebw JRCile, complete statement of rei:f IOUllbt                               -against-
    Counsel for Plaintiff-Appellant because
Appellant's counsel was on bereavement
                                                                                  Vincent F. Gannon, et al.,
    leave due to the death of his mother at the                                                                                               ,-,.,.)
                                                                                                                                              ...,.)

    time of the Court's defect order. Therefore,                                                            Defendants-A~p~l~e~. '
    counsel is moving for an enlargment of the                                                                                          l                         )



    time to cure.
                                                                                                                               .
                                                                                                                                   )
                                                                                                                                       ;
                                                                                                                                        )
                                                                                                                                       (1
                                                                                                                                    i-,..,.
                                                                                                                                                 a,
                                                                                                                                                             -<
                                                                                                                                                             f

    MOVING PAltTY:       Classie M. Dorsey                            OPPOSING PARTY:__V_in_c_e_n_t_F_._G_a_n_n..,.o...,.f1..e~ti:..i
                                                                                                                                  ;;;.a_l...:.;0.,__r-f"'~
                                                                                                                                                       ==t-
                                                                                                                             c~                                  c:;,
                                                                                                                             :;;o .....;rri         N
             (Xlpludf                   0Defeadant                                                                           -<        ?==-             \0

             DAJ,pe...,,....,           (]Ap.,.IDe/Respondela                                                                ~          (/>


    MOVING ATl'ORNEY:         E. Dubois Raynor, Jr.                   OPPOSINGATl'ORNEY:                     Lauren O'Brien, Esq.
                                        [name ofd0111ey, wilt fkm, adlhss, phone number and e-mdJ
     E. Dubois Raynor, Jr., Civil Rights Consortium, 89-07 Jamaica Avenue, Woodhaven, NY 11421, (347) 508-3497 (Direct)
      Lauren O'Brien, Esq., New York City Law Department, 100 Church Street NY, NY 10007, (212) 356-0852



    eo.t- Judfp Aai,ncy appealed &om:      Pamela K. Chen, U.S.D.J. (EDNY)

    Pleue clleckapproprillte bolles:                                     FOR EMERGENC\' MOTIONS. MOTIONS FOR STA YS AND
                                                                         INJUCTIONS PENDING APPEAL:
    H u ~ ooumeJ ~ by lA>Cal Rule 27.1):
     LJYes IA(No(oxpim):__N_oo_tnt_mr_e_.____                            Hu this request for relief been made bebw?          Ores                            DNc,
                                                                         Hu this reli:f been Jnviomly sought in this c:ourt?   01             D              0-,0
                                                                          ~A-.d    reun dla and explladon of OIDIJIIDC)':
    Opposq jitJJpCh ~ ~
              LJUDC/IIIWd ~ D o o ' t K m w
    Does Cl(l(I08,.!f ~ ~       • response:
              LJYcs LJNo         lXJDoo'tKmw


Is oral argument on motion requclllDd?          [Jvcs i&)io(requesas for oral araument wil IIJC nece...,. be granled)
Hu araumcm date of appeal been ,et!             Ovo,IX]N~ lf)"lll,Citerddl:,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Situhlft ofMovlaa AUomey.

C    12«hft44-       o/41"             r=           111412023          Scrvi:e b y : ~             (X).Otber [Attach proof of acrvi:e)


Fonn T-1080 (rev.12-13)
             Case 22-2735, Document 63, 07/19/2023, 3544164, Page3 of 9


                           UNITED ST A TES COURT OF APPEALS
                                            FOR THE
                                      SECOND CIRCUIT


                                                      )      COUNSEL'S DECLARATION
Classie M. Dorsey,                                    )      IN SUPPORT OF MOTION FOR
                                                      )      AN ENLARGMENT OF TIME
                                                      )
                                                      )
                       Plaintiff-Appellant,           )
                                                      )      Docket No. 22-2735
               -against-                              )
                                                      )
                                                      )
Vincent F. Gannon, James P. O'Neill, City             )
New York,                                             )
                                                      )
                       Defendants-Appellees.          )                                                    N
                                                                                         . .,
                                                                                         ,                 .....>
                                                                                         ..     l
                                                                                                            <-
                                                                                                            c::           -n
                                                                                                            '             (. ,

COUNTY OF QUEENS                       }
                                               .SS:
                                                                                                               O"'

                                                                                                                ::i::-    -      t
                                                                                                                                  _.,
                                                                                                                                 '?-



STA TE OF NEW YORK                                                                  - _....::;
                                                                                            -:,                 a.. r,on
                                                                                    ::.J _:.1..,,                N
                                                                                    -<              >"
                                                                                                    rU'I            \.0

       (1)     L E. Dubois Raynor. Jr.. managing attorney for the Civil Rights e'onsortium, an

attorney admitted to practice before the courts of the State of New York and the United States

Supreme Court. submit this affirmation in support of the Plaintiff-Appellant's motion for an

enlargement of time.

       (2)     On June 23, 2023, the Court issued a court of defect. requiring a cure of certain

defects of the Appellant's brief and appendix. and the refiling of corrected copies thereof.

       (3)     However. at the time of this Order. Appellant's counsel was on bereavement leave,

from which counsel returns Monday. July 17. 2023.

       (4)     On June 15. 2023. mom of Appellant's counsel entered hospice care. with the

understanding that mom's prolonged battle with illness. was likely to result in her death.
             Case 22-2735, Document 63, 07/19/2023, 3544164, Page4 of 9


       (5)    On June 20th , 2023, the mom of Appellant's counsel, began passing away, and on

June 28, 2023, was officially pronounced dead. Exhibit 1.

       (6)    On or about June 23, 2023, about the same time the Court issued the order.

Appellant's counsel began the bereavement leave.

       (7)    On July 17, 2023, Appellant" s counsel returns back from bereavement leave

because of Mrs. Evelyn Raynor's death.

       (8)    Therefore, Appellant. respectfully requests 15 to 30 days in which to come into

compliance with the Court's defect order.

Dated: July 14, 2022
       Woodhaven, New York




                                                                                          Esq.
                                                                                         orney
                                                                        89-07 Jamaica A venue
                                                                  Woodhaven, New York 11421
                                                            (855) 246-2776, Ext. 702 Telephone




                                               2
             Case 22-2735, Document 63, 07/19/2023, 3544164, Page5 of 9
                                                                               ,              .                                                                  I
                                                         '   .   )
                                                                     <.Sea,lc6 of iSadwl.~<iJn.MW/iu.,
                                                                                    . .  ,. . ..       ~
                                                                                                           i,        '~   l , , .<:~· ~ • 1

,
                                                                     Cetfr~;tris. . . ·
         )                                  ~
                                                                        1A£fr~.
                                                                         .           -.
                                                                                                                                                        •
                                                                                                                                                            I.
                                                                                                                                                            !I .
                                                                                          '


                                                                                                                                                            !I
                                                                                                                                                            I.
                                                                                                                                                            !     !
                                                                                                                                                            ;I
                                                                                                                                               . Ij
                                                                                                                                              ....;.~
                                                                                                                                               ~            ''
                                                                                                                                                   •        I
                                                                                                                                                            I




                                                                                                                                                            .!
                                                                                                                                                                  I




                                                                                          WM~ ~~ . .                                      .
                                                                                                                                                                 ·1

                                                                      Augqst10. 1f111 _.~ e 28, 2023

             -~
             ~
                      I) '
                     /\w
                      1 II. :. !
                  Sl V3 JJ·i :.iJ   i~ ~ ., .., .•
                                                                                  t
                                                                                                                                      •                 -I
    ,•
                                                                     wJcl'nesd~y, \July 5, 2023
                    6Z :QI WV 9 l 1nr CZ                                   . ·. 1~00 PM
                                                                      St. :-Marts· ·rwa fhurch
                                                                                                         --                    ....
                       03/\1 383
                                                                             or~~~•...
                                                                                                                          ••          • '" t ...
                                                                        222E .. Nelson St.                       •        • '. . . ! ...
                                                                       Mt.        NC f8365                      • ,•.• , .•               ·,,, ) I
                                                     ........,___~-- - - -       !            .. _                                                          I.
                                 Case 22-2735, Document 63, 07/19/2023, 3544164, Page6 of 9
                                                        r
     . J
                9tdek        of c5ekvtoe                                   ✓
                                                                                            ti: ~egaw of ~~lfe
                                                                        Evelynn Mumford Raynor, the daughter of the late Charlie and Esth
Musical Prelude                                                         Mills Mumford, was bo_m August 10, 1931, jn Jones County, North
                                                                        Carolina. She peacefully transitioned on Wednesday;June 28, 2023,
Processional. ........................ Clergy and .Family               in her home.
                                                    .                   Growing up in Kinston,-North Carolina, Evelynn graduated from
Hymn .............................. Elder Darry 1 Tindley               Adkins High School.· She wen( on to receive her Bac~elor of Sci enc
                                                                        in Education from Winston-Salem Teachers College, now known as
Scripture                                                               Winston-Salem Statt: University in Winston-Salem, North Carolina.
                                                                        A proud member of Delta Sigma Theta Sorority, Incorporated, she
     Old Testament. .............. Elder Chris Holmes                   was initiated in the Gamma Phi Chapter on the campus of WSSU.
     New Testament. ............ Dr. Jerome Newton
                                                                        On February 12, 1955, she married Earl Dubois Raynor, Sr. To this
                                                                        union, two children were born, Ivy Raynor Brown and Earl Dubois
Prayer .............................. Deacon Marion Artis               Raynor, Jr.

Hymn .............................. Elder Darry 1 Tindley               Evelynn was a retired teacher of 33 years. She started her teaching
                                                                        career at Friendship School in Fremont, North Carolina. Later the
                                                                        family moved to Moore County, North Carolina where she taught
Obituary .................................... Read Silently             at Berkley High School in Aberdeen, North Carolina, Pinckney Higl
                                                                        School, and Carthage Elementary School in Carthage, North         •
Solo ................................. Elder Chris Holmes               Carolina. In 1969, she began teaching at Carver Elementary and at
                                                                        Brogden Primary in 1974. After her retirement she worked as a
Eulogy ........................ Pastor Merwyn K. Smith                  substitute t&acher in Wayne County.
                                                                        An active member in her community, she was a member of Vision c
Funeral Director's Briefs                                               Faith Free Wi11 Baptist Churr.h and a current member of St. Mark
                                                                        Free Will Baptist Church. She loved devoting her time aod talent to
Recessional                                                             the service of the Lord. She served as a Sunday School teacher for
                                                                        thirty years and a member of the Mother Board.
                                                                          She leaves to mourn their loss. a loving and devoted family: her
                                                                          h_usband, Earl Dubois Raynor, Sr.; one daughter, Ivy Raynor Brown
                                                                       ,...one son, Earl Dubois Raynor, Jr; two brothers-in-law, Charles
       •                                                                  Raynor; Wil1iam Griggsby; one sister-in-law, Dorothy Raynor; two
                                                                          granddaughters, Courtney Brown and Kristen Brown; two grandso1
                     c...5/ttteJt,nte1d                                   Lance Powell and Sterling Raynor; one great-grandson, Cayson
                                                                          Jones; three godchildren, nieces. nephews and other devoted relativ-
                 Wayne Memorial Park                                    fri~ds.                                               .
                    2925 us 117
                  Dudley, N2 23333
Case 22-2735, Document 63, 07/19/2023, 3544164, Page7 of 9




                           Case 22-2735, Document 59, 06/23/2023, 3533284, Page1 of 2




                                United States Court of Appeals for the Second Circuit
                                        Thurgood Marshall U.S. Courthouse
                                                  40 Foley Square
                                                New York, NY 10007

             DEBRA ANN LIVINGSTON                                       CATHERINE O'HAGAN WOLFE
             CHIEF JUDGE                                                CLERK OF COURT

             Date: June 23, 2023                                        DC Docket#: 20-cv-1525
             Docket#: 22-2735cv                                         DC Court: EDNY (BROOKLYN)
             Short Title: Dorsey v. Gannon                              DC Judge: Chen
                                                                        DC Judge: Kuo



                                         NOTICE OF DEFECTIVE FILING



             On May 27, 2023, the BRIEF and the APPENDIX, on behalf of the Appellant Classie M.
             Dorsey, were submitted in the above referenced case. The document does not comply with the
             FRAP or the Court's Local Rules for the following reason(s):

             ___ Failure to submit acknowledgment and notice of appearance (Local Rule 12.3)
             _ _ Failure to file the Record on Appeal (FRAP JO, FRAP//)
             ___ Missing motion information statement (T-1080- Local Rule 27./)
             ___ Missing supporting papers for motion (e.g, affidavit/affirmation/declaration) (FRAP 27)
             _ __ Insufficient number of copies (Local Rules: 21. 1, 27.1, 30. /, 31.1)
             _ _ Improper proof of service (FRAP 25)
                       ___ Missing proof of service
                               Served to an incorrect address
                       _ _ Incomplete service (Anders v. California 386 U.S. 738 (1967))
             ___ Failure to submit document in digital format (Local Rule 25.1)
             ....,,X__ Not Text-Searchable (Local Rule 25.1, Local Rules 25.2), click here
                       for instructions on how to make PDFs text searchable - NOTE: The Appendix is not
             text-searchable.
             _ _ Failure to file appendix on CD-ROM (Local Rule 25. J, Local Rules 25.2)
             _ _ Failure to file special appendix (Local Rule 32.1)
             ___ Defective cover (FRAP 32)
                       ___ Incorrect caption (FRAP 32)
                       _ _ Wrong color cover (FRAP 32)
                       _ _ Docket number font too small (Local Rule 32. 1)
             ___ Incorrect pagination, click here for instructions on how to paginate PDFs
                      (Local Rule 32. 1)
             _ _ Incorrect font (FRAP 32)
             _ _ Oversized filing (FRAP 27 (motion), FRAP 32 (brief))
             ___ Missing Amicus Curiae filing or motion (Local Rule 29.1)
              (.JS ~ ,:~   '!   1 , :.,   [J oe   11   F: /l t   ' c, 0 1 23 '? C::'2 J:>2'.:>~84 Page2 ot ::.'
Case 22-2735, Document 63, 07/19/2023, 3544164, Page8 of 9

_ __ Untimel~ tiling
_ __ lncorn:ct Filing En:nt
____x_ Other: ( 1) The Appellant's Brief is missing a certificate of compliance (FRAP
32(g)). Also, hard copies of the brief must contain single-sided pages (FRAP 32( 1)(A)).

(2) Pages 60, 76, 79, and 83 of the Appendix contain confidential information and should
not be visible to the public. Please make the necessary redactions before re-filing the
document.

(3) The Appendix is not text searchable. Please refer to the hyperlink above for instructions
on how to make a PDF text searchable.

(4) The Appendix is also missing the Notice of Appeal. Please attach the missing document
at the end of the Appendix and include the document in the table of contents with its
corresponding page number.

Please mail six new copies of the Appendix with the corrections mentioned above and six
new single-sided copies of the Appellant's Brief.

Warning: The following document is the third defective notice to be issued. Therefore, if
the re-filing of the Brief and Appendix are not compliant with the rules of the court, the
documents may be stricken from the docket.



       Please cure the dclcct(s) and resuhmil the document. with the required copies. if
necessary. no later than June 27, 2023. The resuhmilled documents. if compliant with FR/\!' and
the Local Rules. will he deemed timely tiled.

        Failure lo cure the defoct(s) hy the date set forth ahme will result in the document heing
stricken. /\n appellant's failure to cure a dclccti,·e tiling may result in the dismissal of the appeal.

Inquiries regarding this case may he directed to 212-857-8563.
               ca,,e "2 -27 3 j   UO LuillE:ll t   62 J7 14/2l 2::: 3541C1C F' aqe · Jt
Case 22-2735, Document 63, 07/19/2023, 3544164, Page9 of 9

                            UNITED STATES COURT OF APPEALS
                                        FOR THE
                                    SECOND CIRCUIT


          At a Stated Term of the United States Court of Appeals for the Second Circuit. held at
the Thurgood Marshall United States Courthouse. 40 Foley Square. in the City of New York. on
the 14 th day of July. two thousand twenty-three.




 Classic M. Dorsey.                                              ORDER
                                                                 Docket No. 22-2735
                Plaintiff- Appellant.

 \'.


 Vincent F. Gannon. James I'. O'Neill. City of New York.

                De fondants - Appcllccs.


       Appellant's Classi..: M. Dorsey submission ofa Brief& Appendix docs not comply with
the Court's pr<.:scrihed tiling rcquir..:m<.:nts. D<.:spite due noti..:c. the defect has not he..:n cured.

        IT IS HEREBY ORDERED that the said Brief& Appendix is stril:kcn from the docket.

                                                             For The Court:
                                                             Catherine O'l lagan Wolk.
                                                             Clerk of-Court
                                                                          ~ -
                                                              ('Ji~~),~
